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WDI/NC (Rev. 5/2020) Agreed Order

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA

UNITED STATES OF AMERICA )
)
Vv. ) Criminal Case No. 0419 1:14CRO00002-
001
)
Michael Dale Bowen )
Defendant )

AGREED ORDER AND JUDGMENT
TO REVOKE SUPERVISED RELEASE

Upon petition of the U.S. Probation Office, joined herein by the United States and the
defendant, to revoke the supervised release of defendant Michael Dale Bowen and for good cause

shown therein, and also based on agreement of the parties as set forth herein:

AGREEMENT OF UNITED STATES AND DEFENDANT
The defendant agrees and stipulates that he/she has violated the terms and conditions of
supervised release in the following respects:
1. DRUG/ALCOHOL USE (Date violation concluded: | 1/4/2020).
The defendant has violated the condition of supervision that states, "The defendant shall
refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use,
distribute or administer any narcotic or controlled substance or any psychoactive
substances (including, but not limited to, synthetic marijuana, bath salts) that impair a
person’s physical or mental functioning, whether or not intended for human consumption,
or any paraphernalia related to such substances, except as duly prescribed by a licensed
medical practitioner," (a) in that, on 1/20/2020 a urine sample was collected from the
defendant that yielded a positive result for amphetamine. A confirmation test was

submitted to Alere and confirmed the sample was positive for methamphetamine.

Case 1:14-cr-00002-MR-WCM Document 18 Filed 01/11/21 Page 1of5
WD/NC (Rev, 5/2020) Agreed Order

(b) In that, on 2/21/2020 a urine sample was collected from the defendant that yielded a
positive result for amphetamine. A confirmation test was submitted to Alere and confirmed
the sample was positive for methamphetamine.

(c) In that, on 6/15/2020 a urine sample was collected from the defendant that yielded a
positive result for amphetamine. A confirmation test was submitted to Alere and confirmed
the sample was positive for methamphetamine.

(d) In that, on 7/20/2020 a urine sample was collected from the defendant that yielded a
positive result for amphetamine. A confirmation test was submitted to Alere and confirmed
the sample was positive for methamphetamine.

(e) In that, on 8/25/2020 a urine sample was collected from the defendant that yielded a
positive result for amphetamine. A confirmation test was submitted to Alere and confirmed
the sample was positive for methamphetamine.

(f) In that, on 9/10/2020 a urine sample was collected from the defendant that yielded a
positive result for amphetamine. A confirmation test was submitted to Alere and confirmed
the sample was positive for methamphetamine.

(g) In that, on 9/28/2020 a urine sample was collected from the defendant that yielded a
positive result for amphetamine. A confirmation test was submitted to Alere and confirmed
the sample was positive for methamphetamine.

(h) In that, on 10/21/2020 a urine sample was collected from the defendant that yielded a
positive result for amphetamine. A confirmation test was submitted to Alere and confirmed

the sample was positive for methamphetamine.

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Case 1:14-cr-00002-MR-WCM Document 18 Filed 01/11/21 Page 2of5
WD/NC (Rev, 5/2020) Agreed Order

(i) In that, on 10/28/2020, a urine sample was collected from the defendant that yielded a
positive result for amphetamine. A confirmation test was submitted to Alere and confirmed
the sample was positive for methamphetamine.

(j) In that, on 11/4/2020 a urine sample was collected from the defendant that yielded a

positive result for amphetamine. - GRADE C VIOLATION

The parties stipulate, pursuant to Chapter 7 Policy Statements, U.S. Sentencing Guidelines,
that the defendant’s violation is a maximum Grade C and that the defendant has a Criminal History
Category of Il.

The parties stipulate, based on U.S.S.G. §7B 1.4, that the Guidelines range of imprisonment
for a Grade C violation and a Criminal History Category of II is a term of imprisonment from 4 to
10 months.

The parties agree, pursuant to Rules | 1(c)(1)(C) and 32.1, Federal Rules of Criminal
Procedure, that the Court should revoke supervised release and order the defendant to be
imprisoned fora period of 6 months. Ifthe Court rejects this sentencing agreement, the defendant
has the right to withdraw from this Agreed Order and have an evidentiary hearing on the petition
for revocation of supervised release.

DEFENDANT’S ACKNOWLEDGMENT AND WAIVER

The defendant acknowledges that he/she is admitting the violations of supervised release
because he/she did, in fact, violate the conditions of supervised release set forth above.

The defendant acknowledges that he/she has had an opportunity 1) to review the written
notice of the alleged violations of supervised release and 2) to review the evidence against him/her

related to those alleged violations.

Case 1:14-cr-00002-MR-WCM Document 18 Filed 01/11/21 Page 3of5
WDINC (Rev, 5/2020) Agreed Order

The defendant further acknowledges that he/she is aware of the following rights and is
knowingly waiving these rights in exchange for the agreed sentence:

1) The opportunity to appear personally, present evidence, and question adverse witnesses

at a revocation hearing; and

2) The opportunity to make a statement personally to the Court in mitigation of sentence

and to present mitigating evidence to the Court.

If the Court accepts the agreed sentence, the defendant knowingly waives the right to
contest the revocation of supervised release and the defendant’s sentence in any appeal or post-
conviction action. Claims of (1) ineffective assistance of counsel and (2) prosecutorial
misconduct, and those claims only, are exempt from this waiver.

The defendant acknowledges that the Court may impose conditions of supervised release
different from or in addition to those that were imposed in the original sentencing order.

AGREED SENTENCE

Upon agreement of the parties as set forth above, it is hereby ORDERED that the
previously imposed period of supervised release is REVOKED.

It is further ORDERED that the defendant Michael Dale Bowen be and is hereby
SENTENCED to a term of imprisonment of SIX (6) months on Count Is of the Judgement entered
on March 11, 2008.

It is further ORDERED that no additional term of supervised release is ORDERED

following defendant’s release from imprisonment.

Case 1:14-cr-00002-MR-WCM Document 18 Filed 01/11/21 Page 4of5
WD/NC (Rev. 5/2020) Agreed Order

So ORDERED and ADJUDGED, this the _(% day of _ Taawar 20.21.

Martil aa
Chief/U.S. District Judge

APPROVED

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Michael Dale Bowen
Defendant

    

fOod DAVID THORNELOE pac'aistssiausen seo
Assistant Federal Public Defender Assistant United States Attorney
Attorney foi\Defendant David A. Thorneloe

 

   

Joél Taylor ~ Fenty Whiteside)

Supervisory U.S. ee Officer Probation Officer

Case 1:14-cr-00002-MR-WCM Document 18 Filed 01/11/21 Page5of5
